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                          THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS


  DIGITAL VERIFICATION SYSTEMS,
  LLC,
                                                            Case No. 1:23-cv-00351-RP
                 Plaintiff
                                                            JURY TRIAL DEMANDED
                 v.
                                                            PATENT CASE
  QUALIA LABS, INC.,

                 Defendant.



 JOINT STIPULATION OF DISMISSAL OF ALL CLAIMS AND COUNTERCLAIMS


         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Digital Verification

Systems, LLC (“Plaintiff”) and Defendant Qualia Labs, Inc. (“Defendant”) hereby stipulate and

agree:

                1.      All claims asserted by Plaintiff in the above-captioned action are hereby

dismissed with prejudice.

                2.      All counterclaims asserted by Defendant in the above-captioned action are

hereby dismissed without prejudice.

                3.      Each party shall bear its own attorneys’ fees, costs, and expenses in

connection with this action.



Dated: September 21, 2023

 GARTEISER HONEA, PLLC                              FISH & RICHARDSON P.C.
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